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        IN THE UNITED STATES BANKRUPTCY COURT FOR THE
               EASTERN DISTRICT OF PENNSYLVANIA
   In re: DAVID E. MOORE, JR.,                     :           CHAPTER 13
            Debtor
                                                   :     BANKRUPTCY NO. 16-17404


             CERTIFICATION OF SERVICE AND OF NO RESPONSE

                  I hereby certify that, on June 25, 2019, I served copies of

   the Debtor’s Amended Motion for Permission to Sell Real Estate and Motion to Amend

   His Confirmed Plan, with a Notices of Motions setting forth that any Answers or

   Objections were required to be filed and served upon me by July 14, 2019, and that

   hearings, if necessary, were scheduled on August 6, 2019, at 1 PM in Courtroom 1, 900

   Market St., Philadelphia, PA. 19107, on all parties listed on the Mailing Matrix in this

   case. I further certify that, as of August 2, 2019, no Answers or Objections to the

   Motions have been filed of record or served upon me, and that therefore the proposed

   Orders attached to the Motions may be entered as uncontested.


   Dated: August 3, 2019
                                                        ______________________________
   -                                                    /s/ DAVID A. SCHOLL
                                                        512 Hoffman Street
                                                        Philadelphia, PA 19148
                                                        610-550-1765
                                                        Attorney for Debtor
